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                 UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF COLUMBIA
_____________________________________

SEAN M. GERLICH, et al.,

      Plaintiffs,

            v.                                     Civil Action No. 08-1134 (JDB)

UNITED STATES DEPARTMENT
 OF JUSTICE, et al.,

     Defendants.
_____________________________________

            PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION

      Plaintiffs, by their undersigned counsel, respectfully move the Court,

pursuant to Rule 23 of the Federal Rules of Civil Procedure and Rule 23.1 of the

Local Civil Rules of this Court, for certification of this action as a class action in

accordance with the contours specified. In support of this motion, the Court’s

attention is respectfully referred to Plaintiffs’ Memorandum of Points and

Authorities in Support of Their Motion for Class Certification, which is filed

herewith.

                                      Conclusion

      For the foregoing reasons, plaintiffs respectfully urge that their motion for
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certification of this case as a class action be granted. An appropriate proposed

order is filed herewith. 1

                                              Respectfully submitted,



                                             /s/ Daniel J. Metcalfe
Dated: February 9, 2009                      DANIEL J. METCALFE
                                             D.C. Bar # 244293
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                                             Washington, D.C. 20016
                                             (301) 509-2300
                                             Counsel for Plaintiffs




1
  Pursuant to Local Civil Rule 7(m), counsel for plaintiffs contacted counsel for all
six defendants in connection with the filing of this motion, and as to all defendants
this motion is opposed. Accordingly, plaintiffs respectfully request oral argument
on this motion.
